      Case 2:08-cr-00064-JCM-EJY        Document 167      Filed 02/11/11        Page 1 of 2
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 7                                     DISTRICT O F NEVADA                                           I
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 8 UNITED STATES OF AM ERICA                                                                         I
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 9                         Plaintifl,                )
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10           v.                                      )          2:08-CR-0064-RLH-GW F
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11 AMY R.ORTIZ,                                      )
                                                     )
12                         Defendant.                )
13                                      ORDER OF FORFEITURE                                          I
                                                                                                     i
14           On February 11,2011.defendantAM Y R.ORTIZ pled guilty to CountsOne and Two of i
                                                                                                     i
15 aTw'
      o-countCNriminalSuperseding lntbrmation charging herin CountOne with W ireFraud in i
                                                                                                     I
16 N'iolationofTitle 18,United StatesCode,Section 1343and charging herin CountTwo w ith Aid or I
17 AssistinPreparinga17alseStatementinviolationof26U.S.C.j7206(2),andagreedtothetbrfeiture 1         ,


18 ofproperty setforth in the Forfeiture A llegations in the Crim inalSuperseding lnform ation.
19           'FhisCourttsndsthatAM Y R.ORTIZ shallpayacriminalforfeituremoneyjudgmentof .
                                                                                                     I
20 $212.874.93in UnitedStatesCurrencyto theUnited StatesofAm erica,pursuantto Fed.R.Crim .P. .
                                                                                                     :
21 32.2(b)(1)and (2),'Fitle l8,United StatesCode,Section 981(a)(1)(C)and Title28,United States .
22 Code-Section 2461(c); Title 18.United StatesCode,Section 982(a)(2)(A))and Title 21,United
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23 StatesCtlde,Sectioll853(p).                                                                       '
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 1 . THEREFORE,IT IS HEREBY ORDERED,ADJUDGED, AND DECREED thattheUnited States I
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            rom AM Y R oR-lzacriminaltbrreituremoneyjudgmentintheamount0:$212,874.93 1
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 3 in U nited States Cul-rency.                                                                                   l
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